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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

EQUAL EMPLOYMENT                               §
OPPORTUNITY COMMISSION,                        §
                                               §
              Plaintiff,                       §    Civil Action No. 3:22-CV-1807-D
                                                §
and                                             §
                                                §
SARAH BUDD,                                     §
                                                §
              Intervenor-Plaintiff,             §
                                                §
VS.                                             §
                                                §
SKYWEST AIRLINES, INC.,                         §
                                                §
              Defendant.                        §

                                         JUDGMENT

       In a memorandum opinion and order filed on February 7, 2024, the court granted summary

judgment in part in favor of SkyWest Airlines, Inc. (“SkyWest”). Thereafter, the remaining claims

of plaintiff Equal Employment Opportunity Commission (“EEOC”) and plaintiff-intervenor Sarah

Budd (“Budd”) for hostile work environment and retaliation were tried to a jury from November 12,

2024 to November 20, 2024. The jury returned a verdict partially in favor of the EEOC and Budd

and partially in favor of SkyWest.

       Accordingly, it is ordered and adjudged that the EEOC and Budd jointly recover from

SkyWest the sum of $170,000 in compensatory damages and $130,000 in punitive damages, for a

total of $300,000 in damages, together with post-judgment interest on these sums at the rate of

4.35% per annum.
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       The taxable costs of court, as calculated by the clerk of court, of the EEOC and Budd are

assessed against SkyWest.

       Done at Dallas, Texas November 20, 2024.



                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            SENIOR JUDGE




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